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                      IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEW MEXICO

                                             )
JOHN EASTMAN,                                )
                                             )
       Plaintiff,                            )
                                             )
v.                                           )      Case No. 1:22-mc-00023-RB-KK
                                             )
                                             )
UNITED STATES OF AMERICA,                    )
                                             )
       Defendant.                            )

                                    NOTICE OF SERVICE

       COMES NOW, undersigned counsel, Joseph J. Gribble, and pursuant to the Court’s ruling

in the Memorandum Opinion and Order filed herein [doc. 8], hereby notifies the Court of service of

the Memorandum Opinion and Order [doc. 8] and Mr. Eastman’s Amended Motion for Return of

Seized Property under Fed. R. Crim. P. 41(g) and Request for Injunctive and Other Relief [doc. 6],

both of which were emailed to AUSA Roberto Ortega, and hand delivered to the United States

Attorney’s Office, in care of AUSA Manuel Lucero who accepted service, on July 19, 2022.


                                             /s/ Joseph J. Gribble
                                             Joseph J. Gribble
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